
The People of the State of New York, Respondent,
againstAdrian Gentle, Defendant-Appellant.



In consolidated criminal prosecutions, defendant appeals from two judgments of the Criminal Court of the City of New York, Bronx County (Shawn T. Kelly, J.), each rendered August 11, 2015, convicting him, upon his pleas of guilty, of two counts of disorderly conduct, and imposing sentence.




Per Curiam.
Judgments of conviction (Shawn T. Kelly, J.), each rendered August 11, 2015, affirmed.
Application by appellant's counsel to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1976]). We are satisfied with the sufficiency of the brief filed by defendant's assigned counsel pursuant to Anders, and, upon an independent review of the record, agree that there is no valid appealable issue that could be raised on appeal.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: March 14, 2018










